 Fill in this information to identify your case:

 Debtor 1
                     Tiffany White
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________

                                                                                                                                                                           Check if this is an
                                                                                                (State)
 Case number           2:18-bk-03224
                     ___________________________________________
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 160,915.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 160,915.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 74,047.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 223,186.47
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 9,839.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 307,072.47
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 8,168.03
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 7,037.42
                                                                                                                                                                            ________________




          Case
Official Form    2:18-bk-03224-MCW
              106Sum           Summary ofDoc
                                          Your 21
                                               AssetsFiled 04/19/18
                                                     and Liabilities        Entered
                                                                     and Certain          04/19/18
                                                                                 Statistical           12:43:40
                                                                                             Information                                                                       Desc
                                                                                                                                                                               page 1 of 2
                                                                    Main Document                         Page 1 of 55
                  Tiffany White                                                                                           2:18-bk-03224
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        1,669.33
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                    83,186.47
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                   140,000.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                             223,186.47
                                                                                                            $_____________________




         Case
    Official      2:18-bk-03224-MCW
             Form 106Sum        Summary ofDoc
                                           Your 21
                                                AssetsFiled 04/19/18
                                                      and Liabilities        Entered
                                                                      and Certain          04/19/18
                                                                                  Statistical           12:43:40
                                                                                              Information                                     Desc
                                                                                                                                              page 2 of 2
                                                          Main Document                Page 2 of 55
Fill in this information to identify your case and this filing:


Debtor 1
                   Tiffany White
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                    (State)


                                                                                                                                         Check if this is an
Case number           2:18-bk-03224
                    ___________________________________________

                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
    ✔    No. Go to Part 2.
         Yes. Where is the property?
                                                                 
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put


                                                                 
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property:

                                                                 
      1.1. _________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                 
                                                                      Condominium or cooperative                   Current value of the Current value of the

                                                                 
                                                                      Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________

                                                                 
                                                                      Land                                         $________________ $_________________

                                                                 
                                                                      Investment property
             _________________________________________                                                             Describe the nature of your ownership

                                                                 
                                                                      Timeshare                                    interest (such as fee simple, tenancy by
             City                    State   ZIP Code
                                                                      Other __________________________________     the entireties, or a life estate), if known.


                                                                                                                    Check if this is community property
                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only
                                                                  Debtor 2 only
             _________________________________________

                                                                  Debtor 1 and Debtor 2 only
             County


                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




                                                                
    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.

                                                                
      1.2. ________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                
                                                                    Condominium or cooperative                     Current value of the     Current value of the

                                                                
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________

                                                                
                                                                     Land                                          $________________        $_________________

                                                                
                                                                     Investment property
             ________________________________________

                                                                
                                                                     Timeshare                                     Describe the nature of your ownership
             City                    State   ZIP Code
                                                                     Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                 Debtor 1 only
                                                                                                                   __________________________________________
             ________________________________________
                                                                 Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
             County


                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:


            Case 2:18-bk-03224-MCW                          Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40                                    Desc
                                                            Main Document    Page 3 of 55                                                        page 1 of ___
                                                                                                                                                            10
                                                                 
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put


                                                                 
                                                                     Single-family home                                   the amount of any secured claims on Schedule D:
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                 
            Street address, if available, or other description       Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                 
                                                                     Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                 
            ________________________________________                 Manufactured or mobile home
                                                                                                                          $________________         $_________________
                                                                 
                                                                     Land


                                                                 
            ________________________________________
                                                                     Investment property
                                                                                                                          Describe the nature of your ownership

                                                                 
            City                    State   ZIP Code                 Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                  Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another                    (see instructions)
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  0.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Porsche                                       Who has an interest in the property? Check one.
                                                                 
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    Cayanne
            Model: ____________________________
                                                                 ✔ Debtor 1 only
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2016
                                  ____________                                                                            Current value of the      Current value of the
                                                                  At least one of the debtors and another
                                  40,000
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                  Check if this is community property (see
            Other information:
            Condition: Good
                                                                                                                           65,765.00
                                                                                                                          $________________          65,765.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the

                                                                  At least one of the debtors and another
                                                                                                                          entire property?          portion you own?
            Approximate mileage: ____________


                                                                  Check if this is community property (see
            Other information:
                                                                                                                          $________________         $________________
                                                                     instructions)




            Case 2:18-bk-03224-MCW                           Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40                                          Desc         10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                                                             Main Document    Page 4 of 55
                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                       ____________________________                                                                                                     Do not deduct secured claims or exemptions. Put
  ____.    Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
   ✔    No
        Yes


                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.


                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________

                                                                              At least one of the debtors and another
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      65,765.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                  3      10
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.


    No
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Household goods and furnishings

   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      1,500.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

    No
             collections; electronic devices including cell phones, cameras, media players, games

   
                            Electronics
   ✔ Yes. Describe. ........                                                                                                                                                                          500.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

   
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms


   
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $___________________

11. Clothes


    No
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   
                          Wearing apparel
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   
        No                       Costume Jewelry
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   
        No
                                 One dog, two cats, bunnies                                                                                                                                           50.00
   ✔    Yes. Describe. .........                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   
   ✔    No
        Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............


   for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        2,650.00
                                                                                                                                                                                                    $______________________




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                                                                                                                                                                                                             page ___ of __
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
   ✔   No
       Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
   ✔   No
       Yes .....................                                             Institution name:


                       17.1. Checking account:                              ___________________________________________________________________                                                                     $__________________

                       17.2. Checking account:                              ___________________________________________________________________                                                                     $__________________

                       17.3. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.4. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.5. Certificates of deposit:                       ___________________________________________________________________                                                                     $__________________

                       17.6. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.7. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.8. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.9. Other financial account:                       ___________________________________________________________________                                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
   ✔   No
       Yes ..................                 Institution or issuer name:

                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
    Yes. Give specific
   ✔ No                                       Name of entity:                                                                                                                      % of ownership:

                                              _____________________________________________________________________                                                                ___________%                     $__________________
       information about
       them. ........................         _____________________________________________________________________                                                                ___________%                     $__________________
                                              _____________________________________________________________________                                                                ___________%                     $__________________




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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   
    Yes. Give specific
   ✔ No

                                         Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________       $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
    Yes. List each
   ✔ No



       account separately.                    Institution name:
       Type of account:
                                                                                                                                      $__________________
            401(k) or similar plan:          ___________________________________________________________________________________
                                                                                                                                      $__________________
            Pension plan:                    ___________________________________________________________________________________
                                                                                                                                      $__________________
            IRA:                             ___________________________________________________________________________________
                                                                                                                                      $__________________
            Retirement account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Keogh:                           ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ...........................                       Institution name or individual:

                                         Electric:           ______________________________________________________________________   $___________________
                                         Gas:                ______________________________________________________________________   $___________________
                                         Heating oil:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rental unit:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Prepaid rent:       ______________________________________________________________________
                                                                                                                                      $___________________
                                         Telephone:          ______________________________________________________________________
                                                                                                                                      $___________________
                                         Water:              ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rented furniture:   ______________________________________________________________________
                                                                                                                                      $___________________
                                         Other:              ______________________________________________________________________
                                                                                                                                      $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   ✔   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________

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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
   ✔   No
       Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
   ✔   No
       Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
   ✔   No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                     ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
        No                                              Tiffany White v Donna Benjamin, Tyler Farms LLC v Tiffany White, Carla Jetton v
   ✔    Yes. Describe each claim. ..................... Tiffany White, Theron Sims v Tiffany White
                                                                                                                                                                                                      Unknown
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
        No. Go to Part 6.
   ✔    Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   ✔

   
        No
        Yes. Describe .......
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
   ✔    Yes. Describe ....... Computer                                                                                                                                                              1,500.00
                                                                                                                                                                                                   $_____________________



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                                                                              Main Document   Page 10 of 55
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
   ✔    No
        Yes. Describe .......                                                                                                                                                                       0.00
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
   ✔    No
        Yes. Describe .......                                                                                                                                                                        0.00
                                                                                                                                                                                                   $_____________________


42. Interests in partnerships or joint ventures

   
   
   ✔    No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                           ______________________________________________________________________                                                     ________%                    $_____________________
                                           ______________________________________________________________________                                                     ________%                    $_____________________
                                           ______________________________________________________________________                                                     ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
   ✔    No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                           ______________________________________________________________________________________                                                                   $____________________

                                           ______________________________________________________________________________________                                                                   $____________________

                                           ______________________________________________________________________________________                                                                   $____________________

                                           ______________________________________________________________________________________                                                                   $____________________

                                           ______________________________________________________________________________________                                                                   $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      1,500.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
        No. Go to Part 7.
   ✔    Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
   ✔    Yes ...........................
                                          Three Horses
                                                                                                                                                                                                      90,000.00
                                                                                                                                                                                                     $___________________


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                                                                              Main Document   Page 11 of 55
48. Crops—either growing or harvested

     
     
     ✔     No
           Yes. Give specific
           information. ............                                                                                                                                                                            0.00
                                                                                                                                                                                                               $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
     ✔     No
           Yes ...........................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
     ✔     No
           Yes ...........................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
     ✔     Yes. Give specific
           information. ............ Horse bit, bridle, etc                                                                                                                                                     1,000.00
                                                                                                                                                                                                               $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  91,000.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
     ✔     No
           Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    65,765.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               2,650.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           0.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  1,500.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         91,000.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             160,915.00
                                                                                                                     $________________                                                                            160,915.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       160,915.00
                                                                                                                                                                                                               $_________________


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                                                                                                                                                                                                                            10 of __
                                                                                   Main Document   Page 12 of 55                                                                                                       page ___
 Fill in this information to identify your case:

                     Tiffany White
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________

                                                                                                                                                    Check if this is an
                                                                                     (State)
 Case number          2:18-bk-03224
                     ___________________________________________
  (If known)
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                           exemption you claim

                                                            Copy the value from                       Check only one box
                                                            Schedule A/B                              for each exemption


                                                                                               
                 2016 Porsche Cayanne                                                                                                Ariz. Rev. Stat. § 33-1125 (8)
 Brief                                                              65,765.00
                                                                   $________________           ✔ $ ____________
                                                                                                   6,000.00
                                                                                                 100% of fair market value, up to
 description:

 Line from                                                                                          any applicable statutory limit
 Schedule A/B:         3.1


                                                                                                $ ____________
                 Household goods - Household goods and                                                                               Ariz. Rev. Stat. § 33-1123
 Brief           furnishings
                                                                   $________________
                                                                     1,500.00                      1,500.00
                                                                                                 100% of fair market value, up to
                                                                                                ✔
 description:
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:          6

                                                                                               
                 Electronics - Electronics                                                                                           Ariz. Rev. Stat. § 33-1123
 Brief
                                                                   $________________
                                                                     500.00                    ✔ $ ____________
                                                                                                   500.00
                                                                                                 100% of fair market value, up to
 description:

 Line from                                                                                          any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes


          Case 2:18-bk-03224-MCW
Official Form 106C
                                                           Doc   21 Filed 04/19/18 Entered 04/19/18 12:43:40
                                                            Schedule C: The Property You Claim as Exempt
                                                                                                                                                          Desc        2
                                                                                                                                                            page 1 of __
                                                           Main Document            Page 13 of 55
Debtor           Tiffany White
                _______________________________________________________                                        2:18-bk-03224
                                                                                        Case number (if known)_____________________________________
                First Name     Middle Name      Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                     Amount of the                       Specific laws that allow exemption
                                                            Current value of the   exemption you claim
         on Schedule A/B that lists this property           portion you own
                                                           Copy the value from    Check only one box
                                                            Schedule A/B           for each exemption
               Clothing - Wearing apparel

                                                                                   
                                                                                                                        Ariz. Rev. Stat. § 33-1125 (1)
Brief                                                         500.00
                                                             $________________         500.00
                                                                                   ✔ $ ____________

                                                                                    100% of fair market value, up to
description:
Line from                                                                             any applicable statutory limit
Schedule A/B:       11


                                                                                   
               Computer                                                                                                 Ariz. Rev. Stat. § 33-1125 (7)
Brief
                                                             $________________
                                                              1,500.00             ✔ $ ____________
                                                                                       1,000.00
                                                                                    100% of fair market value, up to
description:

                                                                                      any applicable statutory limit
Line from
Schedule A/B:         39


                                                                                   
               Three Horses                                                                                             Ariz. Rev. Stat. § 33-1125 (3)
Brief
                                                             $________________
                                                              90,000.00            ✔ $ ____________
                                                                                       800.00
                                                                                    100% of fair market value, up to
description:

Line from                                                                             any applicable statutory limit
Schedule A/B:           47


                                                                                    $ ____________
Brief
description:                                                 $________________
                                                                                    100% of fair market value, up to
Line from                                                                             any applicable statutory limit
Schedule A/B:

                                                                                    $ ____________
Brief
description:                                                 $________________
                                                                                    100% of fair market value, up to
Line from                                                                             any applicable statutory limit
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:

Line from                                                                             any applicable statutory limit
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:
Line from                                                                             any applicable statutory limit
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:

                                                                                      any applicable statutory limit
Line from
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:

Line from                                                                             any applicable statutory limit
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:
Line from                                                                             any applicable statutory limit
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:
                                                                                      any applicable statutory limit
Line from
Schedule A/B:

                                                                                    $ ____________
Brief
                                                             $________________
                                                                                    100% of fair market value, up to
description:

Line from                                                                             any applicable statutory limit
Schedule A/B:

           Case 2:18-bk-03224-MCW
 Official Form 106C
                                                     Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40
                                                     Schedule C: The Property You Claim as Exempt
                                                                                                                                          Desc
                                                                                                                                             2
                                                                                                                                          page ___ of __ 2
                                                     Main Document            Page 14 of 55
 Fill in this information to identify your case:

                     Tiffany White
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                           (State)

                                                                                                                                                        Check if this is an
 Case number         ___________________________________________
                      2:18-bk-03224
 (If known)
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).



      
1. Do any creditors have claims secured by your property?


      
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔      Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1 Wells Fargo Dealer Svc                                 Describe the property that secures the claim:                   $_________________
                                                                                                                             74,047.00        $________________
                                                                                                                                                 65,765.00      $____________
                                                                                                                                                                  8,282.00
      ______________________________________               2016 Porsche Cayanne - $65,765.00
      Creditor’s Name
       Po Box 19657
      ______________________________________
      Number            Street

      ______________________________________               As of the date you file, the claim is: Check all that apply.
                                                           
                                                           
       Irvine                CA 92623                           Contingent
      ______________________________________

                                                           
      City                          State   ZIP Code            Unliquidated
  Who owes the debt? Check one.                                 Disputed
  ✔

  
        Debtor 1 only                                      Nature of lien. Check all that apply.
                                                           
  
        Debtor 2 only                                      ✔    An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only
                                                           
                                                                car loan)
        At least one of the debtors and another
                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)

  
                                                           
                                                                Judgment lien from a lawsuit
     Check if this claim relates to a
     community debt                                             Other (including a right to offset) ____________________
                            2016
  Date debt was incurred ____________                      Last 4 digits of account number           0693
2.2                                                        Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
                                                           
                                                           
      ______________________________________                    Contingent
      City                          State   ZIP Code

                                                           
                                                                Unliquidated
  Who owes the debt? Check one.                                 Disputed
  
  
        Debtor 1 only                                      Nature of lien. Check all that apply.
                                                           
  
        Debtor 2 only
                                                                An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only
                                                           
                                                                car loan)
        At least one of the debtors and another
                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)

  
                                                           
     Check if this claim relates to a                           Judgment lien from a lawsuit
     community debt                                             Other (including a right to offset) ____________________
  Date debt was incurred ____________                      Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                              $_________________
                                                                                                                             74,047.00
               Case 2:18-bk-03224-MCW                             Doc 21           Filed 04/19/18            Entered 04/19/18 12:43:40                        Desc
   Official Form 106D                              Schedule D: Creditors
                                                            Main         Who Have Claims
                                                                   Document              Secured
                                                                                      Page   15 by
                                                                                                 of Property
                                                                                                     55                                                      page 1 of ___
                                                                                                                                                                        1
Debtor 1
              Tiffany White
               _______________________________________________________                                                 2:18-bk-03224
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

           Case 2:18-bk-03224-MCW                      Doc 21        Filed 04/19/18            Entered 04/19/18 12:43:40                     Desc
  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have
                                                      Main Document             PageClaims
                                                                                        16 Secured
                                                                                           of 55 by Property                                 page ___
                                                                                                                                                   1 of ___
                                                                                                                                                        1
  Fill in this information to identify your case:

                           Tiffany White
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name




                                                                                                                                                        Check if this is an
      United States Bankruptcy Court for the: ______________________
                                              District of Arizona    District of __________
                                                                                             (State)
      Case number         ___________________________________________
                            2:18-bk-03224
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                       12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s


          No. Go to Part 2.
 1. Do any creditors have priority unsecured claims against you?


         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim   Priority     Nonpriority
                                                                                                                                                      amount       amount
            IRS
2.1                                                                                                                                  140,000.00 $___________
                                                                                                                                                  0.00        140,000.00
                                                                        Last 4 digits of account number                            $_____________            $____________
           ____________________________________________
           Priority Creditor’s Name
            PO Box 7346                                                 When was the debt incurred?          2014
                                                                                                             ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Philadelphia             PA      19101                       
                                                                        
           ____________________________________________                     Contingent
           City                                 State    ZIP Code

                                                                        
                                                                            Unliquidated

           
           Who incurred the debt? Check one.                                Disputed

           
           ✔      Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
           
                  Debtor 2 only
                                                                        
           
                  Debtor 1 and Debtor 2 only                                Domestic support obligations
                  At least one of the debtors and another               
                                                                        ✔   Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt              Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
           Is the claim subject to offset?
                                                                           Other. Specify _________________________________

           
           ✔      No
                  Yes
             Michael Jagoda
2.2
                                                                        Last 4 digits of account number                                 83,186.47 $___________
                                                                                                                                       $_____________ 0.00      83,186.47
                                                                                                                                                               $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          ____________
             5402 N. 81st Place
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                
                                                                        
                                                                            Contingent
             Scottsdale              AZ     85250
                                                                        
            ____________________________________________                    Unliquidated
            City                                State    ZIP Code
                                                                            Disputed

           
            Who incurred the debt? Check one.

           
                   Debtor 1 only                                        Type of PRIORITY unsecured claim:
                                                                        
           
                   Debtor 2 only                                            Domestic support obligations
                                                                        
                                                                        ✔


           
                   Debtor 1 and Debtor 2 only                               Taxes and certain other debts you owe the government
                   At least one of the debtors and another
                                                                        
           
                                                                            Claims for death or personal injury while you were
                                                                            intoxicated
                                                                        
                   Check if this claim is for a community debt
                                                                            Other. Specify _________________________________
           Is the claim subject to offset?
           
           
            ✔ No

                   Yes
                  Case 2:18-bk-03224-MCW                              Doc 21       Filed 04/19/18              Entered 04/19/18 12:43:40                     Desc
 Official Form 106E/F                                            Schedule
                                                                   Main E/F: Creditors Who Have
                                                                          Document         Page Unsecured
                                                                                                  17 of 55Claims                                             page 1 of ___
                                                                                                                                                                       14
                       Tiffany White                                                                                               2:18-bk-03224
 Debtor 1             _______________________________________________________                                Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          AZ State Board of Accountancy                                                                                                                            Total claim
4.1
                                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                 $__________________
         Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?          ____________
          100 N 15th Ave #165
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Phoenix                             AZ       85007                              
                                                                                         
         _____________________________________________________________                       Contingent
         City                                             State          ZIP Code

                                                                                         
                                                                                             Unliquidated

         
         Who incurred the debt? Check one.                                                   Disputed

         
         ✔      Debtor 1 only


         
                Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:

                                                                                        
                Debtor 1 and Debtor 2 only

                                                                                         
                                                                                             Student loans
                At least one of the debtors and another

         
                                                                                             Obligations arising out of a separation agreement or divorce

                                                                                         
                Check if this claim is for a community debt                                  that you did not report as priority claims


                                                                                         
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?
         
                                                                                         ✔   Other. Specify ______________________________________

         
         ✔      No
                Yes
4.2
         Ad Astra Recovery Serv                                                          Last 4 digits of account number       8915                               2,644.00
                                                                                                                                                                 $__________________
         _____________________________________________________________                   When was the debt incurred?          ____________
                                                                                                                              2017
         Nonpriority Creditor’s Name
         7330 W 33rd St N Ste 118
         _____________________________________________________________
         Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.

                                                                                         
         _______________________________________________________________________

                                                                                         
                                                                                             Contingent
          Wichita                                         KS
                                                      67205
         _____________________________________________________________

                                                                                         
                                                                                             Unliquidated
         City                                             State          ZIP Code

         
         Who incurred the debt? Check one.                                                   Disputed

         
                Debtor 1 only


         
                Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
                                                                                         
         
                Debtor 1 and Debtor 2 only

                                                                                         
                                                                                             Student loans
                At least one of the debtors and another

         
                                                                                             Obligations arising out of a separation agreement or divorce

                                                                                         
                Check if this claim is for a community debt                                  that you did not report as priority claims


                                                                                         
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?
         
                                                                                         ✔   Other. Specify ______________________________________

         
         ✔      No
                Yes
          American Profit Recove
4.3
                                                                                         Last 4 digits of account number       6889
         _____________________________________________________________                                                                                            181.00
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?          2017
                                                                                                                              ____________
         34505 W 12 Mile Rd Ste 3
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Farmington Hills                    MI       48331                              
                                                                                         
         _____________________________________________________________                       Contingent
         City                                             State          ZIP Code

                                                                                         
         Who incurred the debt? Check one.                                                   Unliquidated

                                                                                            Disputed

         
                Debtor 1 only


         
                Debtor 2 only
                                                                                         Type of NONPRIORITY unsecured claim:

                                                                                        
                Debtor 1 and Debtor 2 only


                                                                                         
                At least one of the debtors and another                                      Student loans

         
                                                                                             Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                         
                                                                                             that you did not report as priority claims


                                                                                         
         Is the claim subject to offset?                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                            Other. Specify ______________________________________
                                                                                         ✔

         
         ✔ No

                Yes

                Case 2:18-bk-03224-MCW                              Doc 21          Filed 04/19/18           Entered 04/19/18 12:43:40                            Desc
      Official Form 106E/F                                     Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
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                                                                                                                                                                             2 of ___
                                                                                                                                                                                  14
                      Tiffany White                                                                                                2:18-bk-03224
 Debtor 1            _______________________________________________________                                 Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.4     Bishop Law Office
       _____________________________________________________________                     Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                 $__________________
        7210 N 16th St                                                                   When was the debt incurred?          ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.

                                                                                         
        Phoenix                                          AZ
       _____________________________________________________________
                                                                        85020

                                                                                         
       City                                              State          ZIP Code             Contingent


                                                                                         
                                                                                             Unliquidated
       Who incurred the debt? Check one.
       
                                                                                             Disputed

       
       ✔       Debtor 1 only


       
               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                        
               Debtor 1 and Debtor 2 only

                                                                                         
                                                                                             Student loans
               At least one of the debtors and another

       
                                                                                             Obligations arising out of a separation agreement or divorce

                                                                                         
               Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                         
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?
       
                                                                                         ✔   Other. Specify ______________________________________

       
       ✔       No
               Yes
4.5     Bob Dickinson                                                                    Last 4 digits of account number                                          5,200.00
                                                                                                                                                                 $__________________
       _____________________________________________________________                     When was the debt incurred?          ____________
       Nonpriority Creditor’s Name
        2432 W Lomita Ave
       _____________________________________________________________
       Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.

                                                                                         
       _______________________________________________________________________


                                                                                         
       Mesa                                AZ       85205                                    Contingent
       _____________________________________________________________

                                                                                         
       City                                              State          ZIP Code             Unliquidated

       
       Who incurred the debt? Check one.                                                     Disputed

       
       ✔       Debtor 1 only


       
               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                         
       
               Debtor 1 and Debtor 2 only

                                                                                         
                                                                                             Student loans
               At least one of the debtors and another

       
                                                                                             Obligations arising out of a separation agreement or divorce

                                                                                         
               Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                         
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?
       
                                                                                         ✔   Other. Specify ______________________________________

       
       ✔       No
               Yes
4.6     Caine & Weeiner                                                                  Last 4 digits of account number
        _____________________________________________________________                                                                                             0.00
                                                                                                                                                                 $_________________
        Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
        PO Box 5010
        _____________________________________________________________
        Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Woodland Hills                      CA       91365                               
                                                                                         
        _____________________________________________________________                        Contingent
        City                                             State           ZIP Code

                                                                                         
        Who incurred the debt? Check one.                                                    Unliquidated

                                                                                            Disputed

       
       ✔       Debtor 1 only


       
               Debtor 2 only
                                                                                         Type of NONPRIORITY unsecured claim:
                                                                                        
               Debtor 1 and Debtor 2 only


                                                                                         
               At least one of the debtors and another                                       Student loans

       
                                                                                             Obligations arising out of a separation agreement or divorce
               Check if this claim is for a community debt
                                                                                         
                                                                                             that you did not report as priority claims


                                                                                         
       Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                        ✔   Other. Specify ______________________________________

       
       ✔       No
               Yes

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   Official Form 106E/F                                       Schedule
                                                                Main E/F: Creditors Who Have
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                                                                                                                                                                                  14
                      Tiffany White                                                                                                2:18-bk-03224
 Debtor 1            _______________________________________________________                                 Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.7     Caine & Weiner
       _____________________________________________________________                     Last 4 digits of account number       3419
       Nonpriority Creditor’s Name                                                                                                                                 68.00
                                                                                                                                                                 $__________________
        Po Box 5010                                                                      When was the debt incurred?          ____________
                                                                                                                              2016
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.

                                                                                         
        Woodland Hills                                   CA
       _____________________________________________________________
                                                                        91365

                                                                                         
       City                                              State          ZIP Code             Contingent


                                                                                         
                                                                                             Unliquidated
       Who incurred the debt? Check one.
       
                                                                                             Disputed

       
               Debtor 1 only


       
               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                        
               Debtor 1 and Debtor 2 only

                                                                                         
                                                                                             Student loans
               At least one of the debtors and another

       
                                                                                             Obligations arising out of a separation agreement or divorce

                                                                                         
               Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                         
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?
       
                                                                                         ✔   Other. Specify ______________________________________

       
       ✔       No
               Yes
4.8     Cap One                                                                          Last 4 digits of account number       2827                               216.00
                                                                                                                                                                 $__________________
       _____________________________________________________________                     When was the debt incurred?          ____________
                                                                                                                              2014
       Nonpriority Creditor’s Name
        Po Box 85015
       _____________________________________________________________
       Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.

                                                                                         
       _______________________________________________________________________


                                                                                         
       Richmond                            VA       23285-5075                               Contingent
       _____________________________________________________________

                                                                                         
       City                                              State          ZIP Code             Unliquidated

       
       Who incurred the debt? Check one.                                                     Disputed

       
               Debtor 1 only


       
               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                         
       
               Debtor 1 and Debtor 2 only

                                                                                         
                                                                                             Student loans
               At least one of the debtors and another

       
                                                                                             Obligations arising out of a separation agreement or divorce

                                                                                         
               Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                         
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?
       
                                                                                         ✔   Other. Specify ______________________________________

       
       ✔       No
               Yes
4.9     Cap One                                                                          Last 4 digits of account number       4810
        _____________________________________________________________                                                                                             0.00
                                                                                                                                                                 $_________________
        Nonpriority Creditor’s Name                                                      When was the debt incurred?          2007
                                                                                                                              ____________
        1441 Schilling Pl
        _____________________________________________________________
        Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Salinas                             CA       93901                               
                                                                                         
        _____________________________________________________________                        Contingent
        City                                             State           ZIP Code

                                                                                         
        Who incurred the debt? Check one.                                                    Unliquidated

                                                                                            Disputed

       
               Debtor 1 only


       
               Debtor 2 only
                                                                                         Type of NONPRIORITY unsecured claim:
                                                                                        
               Debtor 1 and Debtor 2 only


                                                                                         
               At least one of the debtors and another                                       Student loans

       
                                                                                             Obligations arising out of a separation agreement or divorce
               Check if this claim is for a community debt
                                                                                         
                                                                                             that you did not report as priority claims


                                                                                         
       Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                        ✔   Other. Specify ______________________________________

       
       ✔       No
               Yes

              Case 2:18-bk-03224-MCW                               Doc 21           Filed 04/19/18           Entered 04/19/18 12:43:40                            Desc
   Official Form 106E/F                                       Schedule
                                                                Main E/F: Creditors Who Have
                                                                       Document         Page Unsecured
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                                                                                                                                                                                  14
                       Tiffany White                                                                                                 2:18-bk-03224
 Debtor 1             _______________________________________________________                                  Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim
4.10 Caponeauto                                                                                                                  1001
        _____________________________________________________________                      Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                  0.00
                                                                                                                                                                   $__________________
         P.O.Box 1928                                                                      When was the debt incurred?          ____________
                                                                                                                                2013
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                           As of the date you file, the claim is: Check all that apply.

                                                                                           
         Tempe                                            AZ
        _____________________________________________________________
                                                                         85280-1928

                                                                                           
        City                                              State          ZIP Code              Contingent


                                                                                           
                                                                                               Unliquidated
        Who incurred the debt? Check one.
        
                                                                                               Disputed

        
                Debtor 1 only


        
                Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:

                                                                                          
                Debtor 1 and Debtor 2 only

                                                                                           
                                                                                               Student loans
                At least one of the debtors and another

        
                                                                                               Obligations arising out of a separation agreement or divorce

                                                                                           
                Check if this claim is for a community debt                                    that you did not report as priority claims


                                                                                           
                                                                                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                           ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.11 Carla Jetton/ALL Washed Up                                                            Last 4 digits of account number                                          0.00
                                                                                                                                                                   $__________________
        _____________________________________________________________                      When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         2734 N 80th Street
        _____________________________________________________________
        Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.

                                                                                           
        _______________________________________________________________________


                                                                                           
        Mesa                                AZ       85207                                     Contingent
        _____________________________________________________________

                                                                                           
        City                                              State           ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                      Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
                                                                                           
        
                Debtor 1 and Debtor 2 only

                                                                                           
                                                                                               Student loans
                At least one of the debtors and another

        
                                                                                               Obligations arising out of a separation agreement or divorce

                                                                                           
                Check if this claim is for a community debt                                    that you did not report as priority claims


                                                                                           
                                                                                               Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                           ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.12     Century Link                                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                              0.00
                                                                                                                                                                   $_________________
         Nonpriority Creditor’s Name                                                       When was the debt incurred?          ____________
         PO Box 4300
         _____________________________________________________________
         Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Carol Stream                        IL       60197-4300                           
                                                                                           
         _____________________________________________________________                         Contingent
         City                                             State           ZIP Code

                                                                                           
         Who incurred the debt? Check one.                                                     Unliquidated

                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                           Type of NONPRIORITY unsecured claim:
                                                                                          
                Debtor 1 and Debtor 2 only


                                                                                           
                At least one of the debtors and another                                        Student loans

        
                                                                                               Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                           
                                                                                               that you did not report as priority claims


                                                                                           
        Is the claim subject to offset?                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
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                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.13 Chaparral Vet Medical Center
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                  $__________________
         32100 N Cave Creek Rd                                                            When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Cave Creek                                       AZ
        _____________________________________________________________
                                                                         85331

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.14 City of Mesa                                                                         Last 4 digits of account number                                          0.00
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         PO Box 1878
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        _______________________________________________________________________


                                                                                          
        Mesa                                AZ       85211-1878                               Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.15     Cox                                                                              Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
         6205-B PeachTree Dunwoody Rd
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Atlanta                             GA       30328                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
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                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.16 Darryn Ruzicka
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                  $__________________
         2622 E Butte Circle                                                              When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Mesa                                             AZ
        _____________________________________________________________
                                                                         85213

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.17 Donna Benjamin                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         125 S Colt
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        _______________________________________________________________________


                                                                                          
        Mesa                                AZ       85119                                    Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.18     Five Guys Construction                                                           Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
         459 N Gilbert Rd A255
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Gilbert                             AZ       85234                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
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                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.19 Laundry Cleaners and Supplies
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                  $__________________
         402 S 50th St                                                                    When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Phoenix                                          AZ
        _____________________________________________________________
                                                                         85034

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.20 Michael Jagoda                                                                       Last 4 digits of account number                                          0.00
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         5402 N 81st Place
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        _______________________________________________________________________


                                                                                          
        Scottsdale                          AZ       85250                                    Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.21     Milano Music                                                                     Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
         38 W Main Street
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Mesa                                AZ       85201                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.22 Nemo's Coll                                                                                                                6973
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 1,264.00
                                                                                                                                                                  $__________________
         14631 N Cave Creek                                                               When was the debt incurred?          ____________
                                                                                                                               2016
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Phoenix                                          AZ
        _____________________________________________________________
                                                                         85022

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
                Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.23 Nemos collections                                                                    Last 4 digits of account number                                          0.00
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         14631 N Cave Creek Rd
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        _______________________________________________________________________


                                                                                          
        Phoenix                             AZ       85022                                    Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.24     Purchase Power                                                                   Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
         PO Box 371874
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Pittsburgh                          PA       15250-7874                          
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
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                                                                                                                                                                                   14
                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.25 Sacks Tierney
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                  $__________________
         4250 N Drinkwater Blvd 3400                                                      When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Scottsdale                                       AZ
        _____________________________________________________________
                                                                         85251

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.26 Samantha Du Mond                                                                     Last 4 digits of account number                                          0.00
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         1006 W Adams St #101
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        _______________________________________________________________________


                                                                                          
        Phoenix                             AZ       85007                                    Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.27     StorageCraft Tech Corp                                                           Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
         380 Data Drive Ste 300
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Draper                              UT       84020                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
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                                                                                                                                                                                    14
                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.28 Theron Sims
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                  $__________________
         6446 E Trailridge #78                                                            When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Mesa                                             AZ
        _____________________________________________________________
                                                                         85215

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.29 Tiffany & Bosco                                                                      Last 4 digits of account number                                          0.00
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
        Nonpriority Creditor’s Name
         Seventh Floor
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        2525 E Camelback Rd
        _______________________________________________________________________


                                                                                          
        Phoenix                             AZ       85016                                    Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.30     Tyler Farms                                                                      Last 4 digits of account number
         _____________________________________________________________                                                                                             0.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          ____________
         3811 N Val Vista Drive
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Mesa                                AZ       85213                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
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                                                                                                                                                                                    14
                       Tiffany White                                                                                                2:18-bk-03224
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.31 Udall Shumway
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                  $__________________
         1138 N Alma School Rd                                                            When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street
         Ste 101
        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
         Mesa                                             AZ
        _____________________________________________________________
                                                                         85201

                                                                                          
        City                                              State          ZIP Code             Contingent


                                                                                          
                                                                                              Unliquidated
        Who incurred the debt? Check one.
        
                                                                                              Disputed

        
        ✔       Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:

                                                                                         
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.32 Valley Collection Serv                                                               Last 4 digits of account number       0318                               Unknown
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?          ____________
                                                                                                                               2015
        Nonpriority Creditor’s Name
         Po Box 10130
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.

                                                                                          
        _______________________________________________________________________


                                                                                          
        Glendale                            AZ       85318                                    Contingent
        _____________________________________________________________

                                                                                          
        City                                              State          ZIP Code             Unliquidated

        
        Who incurred the debt? Check one.                                                     Disputed

        
                Debtor 1 only


        
                Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
                                                                                          
        
                Debtor 1 and Debtor 2 only

                                                                                          
                                                                                              Student loans
                At least one of the debtors and another

        
                                                                                              Obligations arising out of a separation agreement or divorce

                                                                                          
                Check if this claim is for a community debt                                   that you did not report as priority claims


                                                                                          
                                                                                              Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
        
                                                                                          ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes
4.33     Valley Collection Serv                                                           Last 4 digits of account number       7742
         _____________________________________________________________                                                                                             266.00
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?          2017
                                                                                                                               ____________
         Po Box 10130
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Glendale                            AZ       85318                               
                                                                                          
         _____________________________________________________________                        Contingent
         City                                             State           ZIP Code

                                                                                          
         Who incurred the debt? Check one.                                                    Unliquidated

                                                                                             Disputed

        
                Debtor 1 only


        
                Debtor 2 only
                                                                                          Type of NONPRIORITY unsecured claim:
                                                                                         
                Debtor 1 and Debtor 2 only


                                                                                          
                At least one of the debtors and another                                       Student loans

        
                                                                                              Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                          
                                                                                              that you did not report as priority claims


                                                                                          
        Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                         ✔   Other. Specify ______________________________________

        
        ✔       No
                Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
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                                                                                                                                                                                    14
                    Tiffany White                                                                                                 2:18-bk-03224
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.34 Verizon Wireless
      _____________________________________________________________                     Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                 0.00
                                                                                                                                                                $__________________
       PO Box 9622                                                                      When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                        As of the date you file, the claim is: Check all that apply.

                                                                                        
       Mission Hills                                   CA
      _____________________________________________________________
                                                                      91346-9622

                                                                                        
      City                                             State          ZIP Code              Contingent


                                                                                        
                                                                                            Unliquidated
      Who incurred the debt? Check one.
      
                                                                                            Disputed

      
      ✔      Debtor 1 only


      
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:

                                                                                       
             Debtor 1 and Debtor 2 only

                                                                                        
                                                                                            Student loans
             At least one of the debtors and another

      
                                                                                            Obligations arising out of a separation agreement or divorce

                                                                                        
             Check if this claim is for a community debt                                    that you did not report as priority claims


                                                                                        
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
      
                                                                                        ✔   Other. Specify ______________________________________

      
      ✔      No
             Yes

                                                                                        Last 4 digits of account number                                         $__________________
      _____________________________________________________________                     When was the debt incurred?          ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.

                                                                                        
      _______________________________________________________________________


                                                                                        
                                                                                            Contingent
      _____________________________________________________________

                                                                                        
      City                                             State           ZIP Code             Unliquidated

      
      Who incurred the debt? Check one.                                                     Disputed

      
             Debtor 1 only


      
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
                                                                                        
      
             Debtor 1 and Debtor 2 only

                                                                                        
                                                                                            Student loans
             At least one of the debtors and another

      
                                                                                            Obligations arising out of a separation agreement or divorce

                                                                                        
             Check if this claim is for a community debt                                    that you did not report as priority claims


                                                                                        
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?
      
                                                                                            Other. Specify ______________________________________

      
             No
             Yes

                                                                                        Last 4 digits of account number
      _____________________________________________________________                                                                                             $_________________
      Nonpriority Creditor’s Name                                                       When was the debt incurred?          ____________

      _____________________________________________________________
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

                                                                                        
                                                                                        
      _____________________________________________________________                         Contingent
      City                                             State           ZIP Code

                                                                                        
      Who incurred the debt? Check one.                                                     Unliquidated

                                                                                           Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                        Type of NONPRIORITY unsecured claim:
                                                                                       
             Debtor 1 and Debtor 2 only


                                                                                        
             At least one of the debtors and another                                        Student loans

      
                                                                                            Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                        
                                                                                            that you did not report as priority claims


                                                                                        
      Is the claim subject to offset?                                                       Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Other. Specify ______________________________________

      
             No
             Yes

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  Official Form 106E/F                                      Schedule
                                                              Main E/F: Creditors Who Have
                                                                     Document         Page Unsecured
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                                                                                                                                                                                  14
               Tiffany White                                                                                  2:18-bk-03224
Debtor 1       _______________________________________________________                     Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add t he Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                              6a.                   83,186.47
Total claims                                                                          $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                6b.                 140,000.00
                                                                                      $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                               6c.                         0.00
                                                                                      $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                   6d.
                                                                                    + $_________________________
                                                                                                          0.00


                6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                  223,186.47
                                                                                      $_________________________



                                                                                      Total claim

                6f. Student loans                                             6f.                          0.00
Total claims                                                                           $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                    6g.
                                                                                                           0.00
                                                                                       $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                             6h.                          0.00
                                                                                      $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                   6i.   + $_________________________
                                                                                                     9,839.00


                6j. Total. Add lines 6f through 6i.                           6j.
                                                                                                      9,839.00
                                                                                       $_________________________




           Case 2:18-bk-03224-MCW                        Doc 21       Filed 04/19/18       Entered 04/19/18 12:43:40                  Desc
  Official Form 106E/F                                Schedule
                                                        Main E/F: Creditors Who Have
                                                               Document         Page Unsecured
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                                                                                                                                                        14
 Fill in this information to identify your case:

                       Tiffany White
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Arizona    District of ________
                                                                                 (State)

                                                                                                                                         Check if this is an
 Case number            2:18-bk-03224
                       ___________________________________________
  (If known)
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1                                                                                        Residential Lease
       Bob Dickenson
      _____________________________________________________________________
      Name                                                                                 Lessee
       2432 West Lomita Avenue
      _____________________________________________________________________
      Street
                                                      85202
      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

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Official Form 106G                             ScheduleMain
                                                       G: Executory Contracts and
                                                             Document             Unexpired
                                                                                Page   31 ofLeases
                                                                                               55                                                       1
                                                                                                                                              page 1 of ___
 Fill in this information to identify your case:

                     Tiffany White
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name              Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Arizona    District of ________
                                                                                           (State)


                                                                                                                                              Check if this is an
 Case number              2:18-bk-03224
                        ____________________________________________
  (If known)

                                                                                                                                                amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                          12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      
           No. Go to line 3.
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           
           ✔       No
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:


                                                                                                           
3.1
         ________________________________________________________________________________                      Schedule D, line ______
                                                                                                           
         Name
                                                                                                               Schedule E/F, line ______
                                                                                                           
         ________________________________________________________________________________
          Street                                                                                               Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code


                                                                                                           
3.2
         ________________________________________________________________________________                      Schedule D, line ______
                                                                                                           
         Name
                                                                                                               Schedule E/F, line ______
                                                                                                           
         ________________________________________________________________________________
          Street                                                                                               Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code


                                                                                                           
3.3
         ________________________________________________________________________________                      Schedule D, line ______
                                                                                                           
         Name
                                                                                                               Schedule E/F, line ______
                                                                                                           
         ________________________________________________________________________________
          Street                                                                                               Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

          Case 2:18-bk-03224-MCW                                      Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40                             Desc
Official Form 106H                                                         Schedule H: Your Codebtors
                                                                      Main Document         Page 32 of 55                                         page 1 of ___
                                                                                                                                                             1
 Fill in this information to identify your case:

                      Tiffany White
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Arizona   District
                                                                                tate)
 Case number            2:18-bk-03224
                     ___________________________________________                                    Check if this is:
                                                                                                     An amended filing
  (If known)


                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
                                                                                                                    
    attach a separate page with                                       ✔ Employed
                                                                       Not employed                                 
    information about additional         Employment status                                                               Employed
    employers.                                                                                                           Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Lead Tax Supervisor
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       RSM US LLP
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address        _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      ,
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.      10,016.00
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.      10,016.00
                                                                                              $__________            $____________



          Case 2:18-bk-03224-MCW
Official Form 106I
                                                          Doc 21Schedule
                                                                    FiledI: Your
                                                                            04/19/18
                                                                                 Income
                                                                                        Entered 04/19/18 12:43:40                          Desc
                                                                                                                                             page 1
                                                          Main Document          Page 33 of 55
Debtor 1
                 Tiffany  White
                 _______________________________________________________                                                                          2:18-bk-03224
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       10,016.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        1,847.97
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,847.97
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        8,168.03
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            8,168.03
                                                                                                                         $___________     +       $_____________      =      8,168.03
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             8,168.03
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income

     
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔ No.
      Yes. Explain:

           Case 2:18-bk-03224-MCW
  Official Form 106I
                                                                    Doc 21Schedule
                                                                              FiledI: Your
                                                                                      04/19/18
                                                                                           Income
                                                                                                  Entered 04/19/18 12:43:40                                           Desc
                                                                                                                                                                        page 2
                                                                    Main Document          Page 34 of 55
  Fill in this information to identify your case:

                     Tiffany White
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
  (Spouse, if filing) First Name              Middle Name                 Last Name

                                          District of Arizona
  United States Bankruptcy Court for the: ______________________ District of __________
                                                                                      (State)
                                                                                                                  expenses as of the following date:
                       2:18-bk-03224                                                                              ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   ✔ No. Go to line 2.
    Yes. Does Debtor 2 live in a separate household?
               
               
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No
                                            
                                                                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?

                                                                                                                                                   No
   Debtor 2.                                    each dependent..........................

                                                                                                                                                  
   Do not state the dependents’                                                             Son
                                                                                           _________________________                 16
                                                                                                                                    ________
   names.                                                                                                                                         ✔ Yes
                                                                                                                                                   No
                                                                                                                                                  
                                                                                            Daughter
                                                                                           _________________________                 15
                                                                                                                                    ________
                                                                                                                                                  ✔ Yes
                                                                                                                                                   No
                                                                                                                                                  
                                                                                            Daughter
                                                                                           _________________________                 13
                                                                                                                                    ________
                                                                                                                                                  ✔ Yes
                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________

                                                                                                                                                   No
                                                                                                                                                   Yes
                                                                                           _________________________                ________


3. Do your expenses include
                                            
                                            
                                                No
   expenses of people other than
   yourself and your dependents?                Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  2,600.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  OfficialCase   2:18-bk-03224-MCW
          Form 106J                                         DocSchedule
                                                                 21 Filed
                                                                        J: Your04/19/18
                                                                               Expenses Entered 04/19/18 12:43:40                                  Desc
                                                                                                                                                     page 1
                                                            Main Document         Page 35 of 55
                   Tiffany White                                                                                  2:18-bk-03224
 Debtor 1         _______________________________________________________                 Case number (if known)_____________________________________
                  First Name     Middle Name        Last Name




                                                                                                                     Your expenses

                                                                                                                    $_____________________
                                                                                                                                     0.00
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

       6a.   Electricity, heat, natural gas                                                                  6a.    $_____________________
                                                                                                                                  420.00
       6b.   Water, sewer, garbage collection                                                                6b.    $_____________________
                                                                                                                                   75.00
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $_____________________
                                                                                                                                  120.00
       6d.   Other. Specify: _______________________________________________                                 6d.    $_____________________
                                                                                                                                     0.00
 7. Food and housekeeping supplies                                                                           7.     $_____________________
                                                                                                                                  777.00
 8. Childcare and children’s education costs                                                                 8.     $_____________________
                                                                                                                                  100.00
 9. Clothing, laundry, and dry cleaning                                                                      9.     $_____________________
                                                                                                                                  320.00
10.    Personal care products and services                                                                   10.    $_____________________
                                                                                                                                  120.00
11.    Medical and dental expenses                                                                           11.    $_____________________
                                                                                                                                   60.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $_____________________
                                                                                                                                  340.00
       Do not include car payments.                                                                          12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $_____________________
                                                                                                                                  150.00
14.    Charitable contributions and religious donations                                                      14.    $_____________________
                                                                                                                                     0.00
                                                                                                                                                  1
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.   $_____________________
                                                                                                                                     0.00
       15b. Health insurance                                                                                 15b.   $_____________________
                                                                                                                                     0.00
       15c. Vehicle insurance                                                                                15c.   $_____________________
                                                                                                                                  426.42
       15d. Other insurance. Specify:_______________________________________                                 15d.   $_____________________
                                                                                                                                     0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: ________________________________________________________                                     16.
                                                                                                                                    0.00
                                                                                                                    $_____________________

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.   $_____________________
                                                                                                                                1,529.00
       17b. Car payments for Vehicle 2                                                                       17b.   $_____________________
                                                                                                                                     0.00
       17c. Other. Specify:_______________________________________________                                   17c.   $_____________________
                                                                                                                                     0.00
       17d. Other. Specify:_______________________________________________                                   17d.   $_____________________
                                                                                                                                     0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                      18.                    0.00
                                                                                                                    $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                        19.
                                                                                                                                     0.00
                                                                                                                    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.   $_____________________
                                                                                                                                     0.00
       20b. Real estate taxes                                                                                20b.   $_____________________
                                                                                                                                     0.00
       20c. Property, homeowner’s, or renter’s insurance                                                     20c.   $_____________________
                                                                                                                                     0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.   $_____________________
                                                                                                                                     0.00
       20e. Homeowner’s association or condominium dues                                                      20e.   $_____________________
                                                                                                                                     0.00


      OfficialCase   2:18-bk-03224-MCW
              Form 106J                                  DocSchedule
                                                              21 Filed
                                                                     J: Your04/19/18
                                                                            Expenses Entered 04/19/18 12:43:40                       Desc
                                                                                                                                       page 2
                                                         Main Document         Page 36 of 55
                  Tiffany White                                                                                        2:18-bk-03224
Debtor 1         _______________________________________________________                       Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                  21.   +$_____________________
______________________________________________________________________________________                                  +$_____________________
______________________________________________________________________________________                                  +$_____________________
22.     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.                 7,037.42
                                                                                                                         $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

       and 22b. The result is your monthly expenses.                                                            22c.                 7,037.42
                                                                                                                         $_____________________


23. Calculate your monthly net income.
                                                                                                                                      8,168.03
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22c above.                                                     23b.                 7,037.42
                                                                                                                        – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                 1,130.61
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.     Explain here:




      OfficialCase   2:18-bk-03224-MCW
              Form 106J                                DocSchedule
                                                            21 Filed
                                                                   J: Your04/19/18
                                                                          Expenses Entered 04/19/18 12:43:40                              Desc
                                                                                                                                            page 3
                                                       Main Document         Page 37 of 55
Fill in this information to identify your case:

Debtor 1           Tiffany White
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Arizona     District of __________
                                                                                (State)
Case number         2:18-bk-03224
                    ___________________________________________

                                                                                                                                          Check if this is an
(If known)


                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Tiffany White
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              04/19/2018
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form
            Case106Dec
                   2:18-bk-03224-MCW                       Declaration
                                                          Doc   21 About
                                                                       Filedan04/19/18
                                                                               Individual Debtor’s Schedules
                                                                                             Entered    04/19/18 12:43:40                      Desc
                                                          Main Document            Page 38 of 55
 Fill in this information to identify your case:

 Debtor 1          Tiffany White
                   __________________________________________________________________
                      First Name             Middle Name              Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Arizona     District of ______________
                                                                            (State)


                                                                                                                                        Check if this is an
 Case number          ___________________________________________
                        2:18-bk-03224
  (If known)
                                                                                                                                          amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                         4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     
           No
     ✔     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1        Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                 lived there

                                                                                       Same as Debtor 1                                      Same as Debtor 1

                630 N Portland
               __________________________________________       From 12/2016
                                                                     ________            ___________________________________________           From ________
                Number     Street                                                        Number Street
                                                                To      __________
                                                                        07/2017                                                                To      ________
               __________________________________________                                ___________________________________________

               Mesa                     AZ    85205
               __________________________________________                                ___________________________________________
               City                     State ZIP Code                                   City                     State ZIP Code


                                                                                       Same as Debtor 1                                      Same as Debtor 1


               __________________________________________
               3310 E Huber Street                              From 06/2014
                                                                     ________            ___________________________________________           From ________
                Number    Street                                                         Number Street
                                                                To      ________
                                                                        12/2016                                                                To      ________
               __________________________________________                                ___________________________________________

               __________________________________________
               Mesa                     AZ    85213                                      ___________________________________________
               City                       State ZIP Code                                 City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔

           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
          Case 2:18-bk-03224-MCW                           Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40                                  Desc
                                                           Main Document   Page 39 of 55
Debtor 1        Tiffany White
                _______________________________________________________                                                             2:18-bk-03224
                                                                                                             Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                                             $________________                                    $________________
                                                                                                                     
                                                                    bonuses, tips             0.00                        bonuses, tips
            the date you filed for bankruptcy:
                                                                    Operating a business                                  Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips            $________________
                                                                                              0.00                        bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2017                         Operating a business                                  Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              12,000.00                                           $________________
            (January 1 to December 31, _________)
                                       2016                         Operating a business                                  Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     
     ✔     No
           Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________                           _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
                                         _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
December 31, _________)




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Debtor 1       Tiffany White
               _______________________________________________________                                                    2:18-bk-03224
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________
                                                                                                                                         Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




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Debtor 1            Tiffany White
                   _______________________________________________________                            Case number (if known)2:18-bk-03224
                                                                                                                            _____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     
     ✔     No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     
     ✔     No
           Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1          Tiffany  White
                  _______________________________________________________                                                               2:18-bk-03224
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     
           No
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                                                                    Civil
                                                                                                                                                          
                  Thereon Sims v Tiffany White
    Case title:                                                                                            North Mesa Justice Court
                                                                                                          ________________________________________        ✔   Pending

                                                                                                                                                          
                                                                                                          Court Name
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number CC2018-004225
                ________________________
                                                                    Civil
                                                                                                                                                          
                   Carla Jetton v Tiffany White
                                                                                                          ________________________________________
                                                                                                           East Mesa Justice Court                        ✔   Pending

                                                                                                                                                          
                                                                                                          Court Name
    Case title:
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                          CC2017-077660                                                                   City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     
     ✔     No. Go to line 11.
           Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                                                                                
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                                                                                
                   City                               State   ZIP Code
                                                                                     Property was attached, seized, or levied.



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Debtor 1          Tiffany White
                  _______________________________________________________                                                       2:18-bk-03224
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     
     ✔     No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     
     ✔     No
           Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     
     ✔     No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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                    _______________________________________________________                                                            2:18-bk-03224
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     
     ✔     No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔
     
           No
           Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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                   _______________________________________________________                                                           2:18-bk-03224
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
                                                                                                         Checking
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___                                      _________              $___________
            ____________________________________
                                                                                                         Savings
                                                                                                         Money market
            Number       Street



                                                                                                         Brokerage
            ____________________________________


                                                                                                         Other__________
            ____________________________________
            City                       State    ZIP Code




            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
                                                                                                         Savings
            Name of Financial Institution


                                                                                                         Money market
            ____________________________________

                                                                                                         Brokerage
            Number       Street

            ____________________________________

            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for


     
     securities, cash, or other valuables?


     
     ✔  No
           Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                               
                                                                                                                                                               
                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                                                                                                                          Yes
                                                                  Name

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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                    _______________________________________________________                                                                     2:18-bk-03224
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




    
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


    
           No
    ✔      Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                           
                                                                                                                             Property held during move. Debtor no
                                                                                                                             longer has
                                                                                                                                                                            Yes
                                                                                                                                                                           ✔ No
             ___________________________________
             Right Space Storage                                     _______________________________________
             Name of Storage Facility                                Name

             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,


     
     or hold in trust for someone.


     
     ✔   No
           Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     
     ✔     No
           Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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                   _______________________________________________________                                                                     2:18-bk-03224
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     
     ✔     No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case


                                                                                                                                                                          
           Case title
                                                                    ________________________________                                                                          Pending

                                                                                                                                                                          
                                                                    Court Name
                                                                                                                                                                              On appeal

                                                                                                                                                                          
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss


           
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?


           
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time


           
           ✔    A member of a limited liability company (LLC) or limited liability partnership (LLP)


           
                A partner in a partnership
                An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     
           No. None of the above applies. Go to Part 12.
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Tiffany White CPA, PLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Accounting

            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______             To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            All Washed Up
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Dry cleaning and laudry

            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
           Case 2:18-bk-03224-MCW                                Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40                                                        Desc
                                                                 Main Document   Page 49 of 55
Debtor 1           Tiffany White
                   _______________________________________________________                                                          2:18-bk-03224
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Lemon Lane LLC                                         Holding Company
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     
     ✔     No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Tiffany White
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  04/19/2018                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      
             No
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      
      ✔

            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
           Case 2:18-bk-03224-MCW                                Doc 21 Filed 04/19/18 Entered 04/19/18 12:43:40                                             Desc
                                                                 Main Document   Page 50 of 55
                Tiffany White                                                                       2:18-bk-03224
 Debtor 1                                                     _            Case number (if known)
               First Name   Middle Name   Last Name



                                              Continuation Sheet for Official Form 107
9) Lawsuits

Case Title: Theron Sims v Tiffany White

Case Number: CV2018-000591

Court Name: Downtown Superior Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

-------

Case Title: Carla Jetton v Tiffany White

Case Number: CV2017-094087

Court Name: Southeast Superior Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

-------

Case Title: Tyler Farms LLC v Tiffany White

Case Number: CV2017-011562

Court Name: Downtown Superior Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

-------

Case Title: Donna Benjamin v Tiffany White

Case Number: CV2017-001043

Court Name: Downtown Superior Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

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Case Title: Tiffany White v Donna Benjamin




            Case 2:18-bk-03224-MCW Statement
  Official Form 107
                                     Doc 21        Filed 04/19/18 Entered 04/19/18 12:43:40
                                             of Financial Affairs for Individuals
                                                                                                                    Desc
                                    Main Document               Page 51 of 55
                Tiffany White                                                                       2:18-bk-03224
 Debtor 1                                                     _            Case number (if known)
               First Name   Middle Name   Last Name



                                              Continuation Sheet for Official Form 107
Case Number: CV2016-097353

Court Name: Downtown Superior Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

-------

Case Title: Sacks Tierney PA v Tiffany White

Case Number: CV2016-014772

Court Name: Downtown Superior Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

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27) Businesses

Business Name: Ironwood Tax & Accounting



Describe the Nature of the business: Tax and accounting services

EIN:

Dates business existed: From:                 To:

---

Business Name: Suite & Shirts Cleaners



Describe the Nature of the business: Dry cleaning and laundry services

EIN:

Dates business existed: From:                 To:

---




            Case 2:18-bk-03224-MCW Statement
  Official Form 107
                                     Doc 21        Filed 04/19/18 Entered 04/19/18 12:43:40
                                             of Financial Affairs for Individuals
                                                                                                                    Desc
                                    Main Document               Page 52 of 55
   Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                  According to the calculations required by
  Debtor 1           Tiffany White
                    __________________________________________________________________                            this Statement:

                                                                                                                  
                      First Name             Middle Name               Last Name

  Debtor 2            ________________________________________________________________                            ✔    1. Disposable income is not determined

                                                                                                                  
  (Spouse, if filing) First Name             Middle Name               Last Name                                          under 11 U.S.C. § 1325(b)(3).

                                          ______________________
  United States Bankruptcy Court for the: District of Arizona    District of __________                                2. Disposable income is determined
                                                                                                                          under 11 U.S.C. § 1325(b)(3).

                                                                                                                  
  Case number         2:18-bk-03224
                      ___________________________________________
                                                                                                                  ✔
                                                                                                                  
   (If known)                                                                                                          3. The commitment period is 3 years.
                                                                                                                       4. The commitment period is 5 years.

                                                                                                                  
                                                                                                                   Check if this is an amended filing

 Official Form 122C–1
 Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
 a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :        Ca lc ula t e Y our Ave ra ge M ont hly I nc om e



    
1. What is your marital and filing status? Check one only.
    ✔    Not married. Fill out Column A, lines 2-11.
        Married. Fill out both Columns A and B, lines 2-11.

   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A                Column B
                                                                                                   Debtor 1                Debtor 2 or
                                                                                                                           non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                 1,669.33
                                                                                                       $____________           0.00
                                                                                                                              $__________

3. Alimony and maintenance payments. Do not include payments from a spouse if
   Column B is filled in.                                                                               0.00
                                                                                                       $____________           0.00
                                                                                                                              $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled
   in. Do not include payments you listed on line 3.                                                    0.00
                                                                                                       $___________            0.00
                                                                                                                              $__________


5. Net income from operating a business, profession, or              Debtor 1        Debtor 2
   farm
   Gross receipts (before all deductions)                            $______
                                                                      0.00           $______
                                                                                      0.00

   Ordinary and necessary operating expenses                     –$______
                                                                   0.00            – $______
                                                                                      0.00


                                                                                             here
                                                                                                Copy
   Net monthly income from a business, profession, or farm
                                                                     $______
                                                                      0.00           $______
                                                                                      0.00                $_________
                                                                                                           0.00                0.00
                                                                                                                              $_________

6. Net income from rental and other real property                    Debtor 1      Debtor 2

   Gross receipts (before all deductions)                            $______
                                                                      0.00           $______
                                                                                      0.00

   Ordinary and necessary operating expenses                    – $______
                                                                    0.00           – $______
                                                                                      0.00

                                                                                             here
                                                                                                Copy
   Net monthly income from rental or other real property             $______
                                                                       0.00          $______
                                                                                      0.00                $_________
                                                                                                           0.00               0.00
                                                                                                                             $__________


          Case
Official Form     2:18-bk-03224-MCW
              122C–1      Chapter 13 StatementDoc   21Current
                                               of Your   Filed  04/19/18
                                                              Monthly          Entered
                                                                      Income and           04/19/18
                                                                                 Calculation           12:43:40
                                                                                             of Commitment Period                              Desc       page 1
                                                           Main Document               Page 53 of 55
 Debtor 1           Tiffany  White
                     _______________________________________________________                                                                                         2:18-bk-03224
                                                                                                                                              Case number (if known)_____________________________________
                     First Name           Middle Name                  Last Name



                                                                                                                                          Column A                              Column B
                                                                                                                                           Debtor 1                             Debtor 2 or
                                                                                                                                                                                non-filing spouse

7. Interest, dividends, and royalties                                                                                                        0.00
                                                                                                                                            $____________                           0.00
                                                                                                                                                                                   $__________

8. Unemployment compensation                                                                                                                 0.00
                                                                                                                                            $____________                           0.00
                                                                                                                                                                                   $__________


     the Social Security Act. Instead, list it here: ................................... 
     Do not enter the amount if you contend that the amount received was a benefit under


        For you .........................................................................         $_____________
        For your spouse ...........................................................               $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                    0.00
                                                                                                                                             $____________                          0.00
                                                                                                                                                                                   $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
                                                                                                                                              0.00
                                                                                                                                             $_____________                        0.00
                                                                                                                                                                                  $___________
       10a. __________________________________________________________________
                                                                                                                                              0.00
                                                                                                                                             $_____________                        0.00
                                                                                                                                                                                  $___________
       10b. __________________________________________________________________

       10c. Total amounts from separate pages, if any.                                                                                   + $____________
                                                                                                                                            0.00                              + $__________
                                                                                                                                                                                 0.00

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                       1,669.33
                                                                                                                                             $____________                +        0.00
                                                                                                                                                                                  $___________           =    1,669.33
                                                                                                                                                                                                             $________
                                                                                                                                                                                                             Total average
                                                                                                                                                                                                             monthly income




Pa rt 2 :         De t e rm ine H ow t o M e a sure Y our De duc t ions from I nc om e

12. Copy your total average monthly income from line 11. ......................................................................................................................                            1,669.33
                                                                                                                                                                                                         $_____________
13. Calculate the marital adjustment. Check one:

     
     ✔    You are not married. Fill in 0 in line 13d.
         You are married and your spouse is filing with you. Fill in 0 in line 13d.
         You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you

          your dependents.
          or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or


          In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
          necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
          13a. _______________________________________________________________________                                                           $___________
          13b. _______________________________________________________________________                                                           $___________
          13c. _______________________________________________________________________                                                       + $___________
          13d. Total .................................................................................................................            0.00
                                                                                                                                                 $___________                Copy here.      13d. ─____________
                                                                                                                                                                                                     0.00

14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                  14.       1,669.33
                                                                                                                                                                                                          $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here            ......................................................................................................................................................... 15a.        1,669.33
                                                                                                                                                                                                         $ ____________

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                    x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                     15b.
                                                                                                                                                                                                          20,031.96
                                                                                                                                                                                                         $___________


             Case 2:18-bk-03224-MCW
 Official Form 122C–1     Chapter 13 Statement Doc
                                               of Your21    Filed
                                                       Current      04/19/18
                                                               Monthly              Entered
                                                                       Income and Calculation    04/19/18Period
                                                                                              of Commitment 12:43:40                                                                                      Desc       page 2
                                             Main Document                Page 54 of 55
 Debtor 1           Tiffany  White
                     _______________________________________________________                                                                                     2:18-bk-03224
                                                                                                                                          Case number (if known)_____________________________________
                     First Name           Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                   AZ
                                                                                              _________

     16b. Fill in the number of people in your household.                                         4
                                                                                              _________


     16c. Fill in the median family income for your state and size of household. ............................................................................. 16c.                                       75,900.00
                                                                                                                                                                                                         $___________
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.   
            ✔     Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                  11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                  11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                  On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :            Ca lc ula t e Y our Com m it m e nt Pe riod U nde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ...................................................................................................................... 18.
                                                                                                                                                                                                           1,669.33
                                                                                                                                                                                                         $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                        19a.    ─    0.00
                                                                                                                                                                                                         $__________

     Subtract line 19a from line 18.
                                                                                                                                                                                              19b.
                                                                                                                                                                                                          1,669.33
                                                                                                                                                                                                         $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ................................................................................................................................................................... 20a.        1,669.33
                                                                                                                                                                                                         $___________

             Multiply by 12 (the number of months in a year).                                                                                                                                        x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                                 20b.          20,031.96
                                                                                                                                                                                                         $___________


     20c. Copy the median family income for your state and size of household from line 16c. ..........................................................
                                                                                                                                                                                                           75,900.00
                                                                                                                                                                                                         $___________

21. How do the lines compare?

     
     ✔    Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is

     
          3 years. Go to Part 4.
          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
          check box 4, The commitment period is 5 years. Go to Part 4.


 Pa rt 4 :         Sign Be low




         /s/ Tiffany White                                                                                      ____________________________________
        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

              ___________________________________________________
             Signature of Debtor 1                                                                                     Signature of Debtor 2


                      04/19/2018
             Date _________________                                                                                    Date _________________
                     MM / DD         / YYYY                                                                                    MM / DD         / YYYY



        If you checked 17a, do NOT fill out or file Form 122C–2.
        If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




             Case 2:18-bk-03224-MCW
 Official Form 122C–1     Chapter 13 Statement Doc
                                               of Your21    Filed
                                                       Current      04/19/18
                                                               Monthly              Entered
                                                                       Income and Calculation    04/19/18Period
                                                                                              of Commitment 12:43:40                                                                                     Desc     page 3
                                             Main Document                Page 55 of 55
